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14
                                UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
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                                            )
18   IN RE: ROUNDUP PRODUCTS                )   MDL 2741
     LIABILITY LITIGATION                   )   Case No. 16-md-02741-VC
19                                          )
                                            )
20   THIS DOCUMENT RELATES TO:              )   DECLARATION OF AIMEE H.
                                            )   WAGSTAFF IN SUPPORT OF
21                                          )   PLAINTIFFS’ MOTION IN LIMINE
                                            )   NO. 9
22   HARDEMAN V. MONSANTO COMPANY           )
                                            )
23                                          )
     Case No.: 3:16-cv-00525-VC             )
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     Wagstaff Declaration ISO Plaintiff’s                      Case No. 3:16-cv-00525-VC
     Motion in Limine
            Case 3:16-md-02741-VC Document 2602-1 Filed 01/30/19 Page 2 of 2



 1          I, Aimee H. Wagstaff, hereby declare as follows:

 2          1. I am an attorney duly admitted to practice before this Court. I am a partner at Andrus

 3   Wagstaff P.C., and designated as co-lead counsel for plaintiffs in MDL No. 2741. I submit this

 4   Declaration in support of Plaintiffs’ Motion in Limine no. 9.

 5          2. Attached hereto as Exhibit 1 is a true and correct copy of an excerpt from the

 6   deposition of Plaintiff Hardeman.

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 9   I declare under penalty of perjury that the foregoing is true and correct.

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11   DATED: January 30, 2019                       Respectfully submitted,
                                                   /s/ Aimee Wagstaff
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     Wagstaff Declaration ISO Plaintiff’s                                  Case No. 3:16-cv-00525-VC
     Motion in Limine
